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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: Vioxx®
Product Liability Litigation

MDL Docket No. 1657

Docket No. 2:06-cv-06239

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* SECTION L
This document relates to: *
*
Robert Durant, et al. * JUDGE FALLON
v. *
Merck & Co., Inc. * MAGISTRATE JUDGE KNOWLES
*
Only with regard to: *
Diane McClellan *
*
*
*

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ORDER OF DISMISSAL WITH PREJUDICE
Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff Diane McClellan in the above-captioned
case be and they hereby are dismissed with prejudice with each party to bear his or her own
costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
